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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
FJN/APW                                            271 Cadman Plaza East
F. #2021R00043                                     Brooklyn, New York 11201




                                                   May 11, 2021

By Hand Delivery and ECF

Mia Eisner-Grynberg, Esq.
Federal Defenders of New York, Inc.
One Pierrepont Plaza - 16th Floor
Brooklyn, NY 11201

              Re:     United States v. Eduard Florea
                      Criminal Docket No. 21-037 (EK)

Dear Ms. Eisner-Grynberg:

               Enclosed please find the government’s production of discovery in accordance
with Rule 16 of the Federal Rules of Criminal Procedure. These materials are being produced
pursuant to the Protective Order entered by the Court on May 10, 2021.

                The government hereby provides the following documents, photographs,
electronic data, and other information, some of which records may contain statements of the
defendant:

 Bates Numbers              Description

 EF000192-EF000192          Electronic copy of three hard drives from a Corsair computer
                            bearing a serial number ending in 9709, which was seized from the
                            defendant’s residence on January 13, 2021 (SENSITIVE).

 EF000193-EF000193          Electronic copy of five Micro SD cards seized from the
                            defendant’s residence on January 13, 2021 (SENSITIVE).

 EF000194-EF000194          Electronic copy of 6 flash drives seized from the defendant’s
                            residence on January 13, 2021 (SENSITIVE).

 EF000195-EF000195          Electronic copy of an Acer computer bearing a serial number
                            ending in 2701, which was seized from the defendant’s residence
                            on January 13, 2021 (SENSITIVE).
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Bates Numbers        Description

EF000196-EF000196    Electronic copy of an external hard drive from an Asus desktop
                     computer bearing a serial number ending in 9709, which was
                     seized from the defendant’s residence on January 13, 2021
                     (SENSITIVE).

EF000197-Ef000197    Electronic copy of a Dell Vostro tower computer bearing a serial
                     number ending in GBP1, which was seized from the defendant’s
                     residence on January 13, 2021 (SENSITIVE).

EF000198-EF000198    Electronic copy of four hard drives seized from the defendant’s
                     residence on January 13, 2021 (SENSITIVE).

EF000199-EF000199    Electronic copy of a Galaxy Note bearing an IMEI ending in 1448,
                     which was seized from the defendant on January 13, 2021
                     (SENSITIVE).

EF000200-EF000200    Electronic copy of a Galaxy Note bearing an IMEI ending in 6098,
                     which was seized from Joni Florea on January 13, 2021
                     (SENSITIVE).

EF000201-EF000201    Electronic copy of a Galaxy Note bearing an IMEI ending in 4013,
                     which was seized from the defendant’s residence on January 13,
                     2021 (SENSITIVE).

EF000202-EF000202    Electronic copy of a Galaxy Note bearing an IMEI ending in 7248,
                     which was seized from the defendant’s residence on January 13,
                     2021 (SENSITIVE).

EF000203-EF000203    Electronic copy of a Hitachi hard drive bearing a serial number
                     ending in 35NB, which was seized from the defendant’s residence
                     on January 13, 2021 (SENSITIVE).

EF000204-EF000204    Electronic copy of a HP Stream laptop computer bearing a serial
                     number ending in 4XMT, which was seized from the defendant’s
                     residence on January 13, 2021 (SENSITIVE).

EF000205-EF000205    Electronic copy of an iPhone 6 bearing an IMEI ending in 2088,
                     which was seized from the defendant’s residence on January 13,
                     2021 (SENSITIVE)

EF000206-EF000206    Electronic copy of a Macbook Pro bearing a serial number ending
                     in LVDQ, which was seized from the defendant’s residence on
                     January 13, 2021 (SENSITIVE)



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Bates Numbers         Description

EF000207-EF000207     Electronic copy of a Motorola Nexus telephone bearing an IMEI
                      ending in 1934, which was seized from the defendant’s residence
                      on January 13, 2021 (SENSITIVE).

EF000208-EF000208     Electronic copy of a Western Digital hard drive bearing a serial
                      number ending in 2407, which seized from the defendant’s
                      residence on January 13, 2021 (SENSITIVE).

EF000176-EF000191     Photographs of ammunition seized from the defendant’s residence

EF000209-EF000216     Records obtained from eBay, Inc. (SENSITIVE)

EF000217-EF000219     Stormfront Screenshots

EF000220-EF0002361    Records obtained from Facebook, Inc. (SENSITIVE)

EF002362-EF002374     Records obtained from Google, LLC (SENSITIVE)

EF002375-EF002376     Records obtained from The Home Depot, Inc.

EF002377-EF002545     Records obtained from Oath Holdings, Inc. (SENSITIVE)

EF0002546-EF0002570   Records obtained from PayPal, Inc. (SENSITIVE)

EF002571-EF002574     Pen register trap and trace information obtained from T-Mobile,
                      Inc. regarding the defendant’s telephone ending in 7415.

EF002575-EF003501     Records obtained from TD Bank, Inc. (SENSITIVE)

EF003502-EF003512     Records obtained from T-Mobile, Inc.

EF003513-EF003513     Records obtained from Amazon, Inc.

EF003574-EF003574     Records obtained from Stripe

EF003575-EF003590     Records obtained from TransUnion

EF003591-EF003632     Records obtained from JPMorgan Chase Bank

EF003633-EF003651     Records obtained from Experian

EF003652-EF002652     Log of items collected from the defendant’s residence on January
                      15, 2021




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 Bates Numbers                Description

 EF003653-EF003705            Agent Affidavit in Support of Application for Search Warrants for
                              Stored Electronic Communications



               In addition, during the course of its investigation, the government has obtained
certain physical evidence. You may examine the physical evidence discoverable under Rule 16,
including any original documents, by calling me to arrange a mutually convenient time.

                If you have any questions or requests regarding further discovery or a disposition
of this matter, please do not hesitate to contact me.

                Please be advised that, pursuant to the policy of the Office concerning plea offers
and negotiations, no plea offer is effective unless and until made in writing and signed by
authorized representatives of the Office. In particular, any discussion regarding the pretrial
disposition of a matter that is not reduced to writing and signed by authorized representatives of
the Office cannot and does not constitute a “formal offer” or a “plea offer,” as those terms are
used in Lafler v. Cooper, 132 S. Ct. 1376 (2012), and Missouri v. Frye, 132 S. Ct. 1399 (2012).

                                                     Very truly yours,

                                                     MARK J. LESKO
                                                     Acting United States Attorney

                                              By:     /s/ Francisco J. Navarro
                                                     Francisco J. Navarro
                                                     Andrew P. Wenzel
                                                     Assistant United States Attorneys
                                                     (718) 254-7000

Enclosures

cc:      Clerk of the Court (EK) (by ECF) (without enclosures)




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